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 Deputy Federal Public Defender
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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                                               CASB NUMBBA:
United States of America,
                                                 Plaintiff',                      2:22-CR-00482-GW
                      v.
                                                                                   ADVISEMENT OF
JERRY NEHL BOYLAN                                                             DEFENDANT'S STATUTORY &
                                                                               CONSTITUTIONAL RIGHTS
                                               Defendant.

You are in the United States District Court far the Central District of California because you have been charged
with a crime against the United States ar a violation of probation, supervised release, or pretrial release. T'he
Court informs you that you have the following constitutional and statutory rights in connection with these
proceedings:

       You have the right to remain silent. Anything you say, sign, or write can be used against you in this or in
any other case.
       If you have not already received a copy of the charges, you will receive a copy today.
          You have the right to hire and be represented by a lawyer of your choosing at each and every stage of
these proceedings. [f you cannot af~'ord to hire a lawyer, you can appty to the Court to have a lawyer appointed
to represent you for free from the office of the Federal Public Defender or the [ndigent Defense Panel. The
application for free counsel includes a financial affidavit, which you must sign under penalty of perjury. If you
say something on the form that is nor. true or leave vut material information, you could be ch~r~ed with another
crii~ne, such as perjury or making a false statement.
          If you are not a United States citizen, you may request that the prosecution notify your cU»sular office
that you have been arrested. Even without such a request, the law may require the prosecution to d~ so.

               IF YOU ARE MAKING YOUR INITIAL APPEARANCE BEFORE THE COURT
        Ynu have a right to ~ bail hearing in which the Magistrate Judge will determine whether you will be
released from custody before trial. !f you ciisagr~e with the Magistrate Judge's decision, you can appeal. that
decision to another Judge of this Court. Yau or the prosecutor can request that the bail hearing be continued to
another day.
        If you have been charged by complaint, you are entitled to a preliminary hearing within 14 days if the
Magistrate Judge orders that you be detained pending trial, or 21 days if the Magistrate Judge orders that you be
released pending trial. In a preliminary hearing, the prosecutio~i will attempt tc~ show chat there is probable
cause to believe that you committed the crime charged in the complaint. You will not be entitled to a
preliminary hearing, however, if the prosecution cabtains an indictment in your case before the time set far the
preliminary hearing. (Most often, khe prosecutors in the Central District of C;alifnrnia present their cases to the
grand jury before the time set for the preliminary hearing and, therefore, no preliminary hearing is held.)

                            IF YOU ARE CHARGED WITH A VIOLATION OF
                   YOUR CONDITIONS OF SUPERVISED RELEASE OR PROBATION
       If you are charged with ~i violatia~ of the terms and conditions of your supervised release or prolaation
and the Magistrate Judge detains yc~u, ycau have the right to a preliminary hearing before a MagisCrate Judge.

CR-lo(06/18)            ADVISEMENT OF DEFENDANT'S STATUTORY &CONSTITUTIONAL RIGHTS                            PAGE 1 OF 2
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                             IF YOU ARE CHARGED IN ANOTHER DISTRICT
        If you have been arrested on a charge from another district, you are entitled to wait until the prosecution
produces a copy of the warrant authorizing your arrest. You are also entitled to an identity hearing in which the
prosecution would have the burden of graving there is probable cause to believe that you are the person n~ned
in the charges. If you are charged in a complaink Pram another district, you may request to have a preWnuiary
hearing held in the charging district. If you are charged with a violation of a term of supervised release or
probation imposed in another district, you have a right to a preliminary hearing, which may, depending an
where the alleged violation occurred, be held either here yr in the charging district.
        If you want to plead guilty in the Central District of California, you may request to have your case
transferred to this district. To proceed in this district, the United States Attorneys for this district and the
charging district must agree to the transfer.
                               IF YOU ARE APPEARING FOR ARRAIGNMENT
         If you have been charged  by indictment or information, you will be arraigned and maybe asked to enter
a not guilty plea today. After your arraignment, your case will be assigned to a District Judge of this Court for
all further proceedings, unless a Judge has already been assigned.
        You are entitled to a speedy and public trial by jury. The right to a jury trial can be waived.
        You are entitled to see and hear the evidence and cross-examine the witnesses against you. You are
entitled to the processes of the Court to subpoena witnesses on your behalf without cost to you if you are
indigent. You do not have to prove your innocence. The prosecution has the burden to prove your guilt
beyond a reasonable doubt.

ACKNOWLEDGMENT OF DEFENDANT:
I have read the above Advisement of Rights and understand it. I do not require a translation of this statement
nor do I require an interpreter for court proceedings.

   Dated: November 10, 2022
                                                                            ignature o   e en ant
                                                       jorj

   I have personally heard a translation in the _                                        language read to me and
   understand the above Advisement of Rights.

   Dated:
                                                                            ignature o   e   ant                    m

STATEMENT OF THE INTERPRETER:

   I have translated this Advisement of Rights to the Defendant in the                                       language.

   Dated:
                                                                             gnature o nterprtter


                                                                          Print Name o lntapreter                  ~~


STATEMENT OF COUNSEL:
   I am satisfied that the defendant has read this Adviserne        fights or has heard the i       rp et tic~n
   thereofand that he/she understands it.

   Dated: November 10,2022

CR-lo(oblle)          ADVISEMENT OF DEFENDANT'S STATUTORY & CQN~'TiIUTI0IVAL RIGHTS                               PAGE 2OF 2
